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                                              STATE OF NEW YORK
                                        OFFICE OF THE ATTORNEY GENERAL
 LETITIA JAMES                                                                                     DIVISION OF STATE COUNSEL
ATTORNEY GENERAL                                                                                          LITIGATION BUREAU


                                            Writer Direct: 518-776-2606

                                                      May 29, 2019

    Hon. Andrew T. Baxter
    United States Magistrate Judge
    United States District Court, Northern District of New York
    Federal Building and U.S. Courthouse
    P.O. Box 7396
    Syracuse, NY 13261-7396

    Re:     Burinska v. SUNY, et al.
            Northern District of New York
            19-CV-0564 (MAD)(ATB)

    Dear Judge Baxter:

            It is my understanding that all of the defendants have been served with process in the within
    action. This office anticipates that it will represent some or all of the defendants in this matter.

            Defendants respectfully request a brief extension of time to answer or otherwise respond
    to the Complaint, in order to permit defendants to file a single consolidated response, and in order
    to permit analysis of any potential conflict issues, as well as investigation of the allegations in the
    Complaint. Accordingly, I respectfully request an extension of time to July 15, 2019 for all
    defendants to answer or otherwise respond to the Complaint.

            I have conferred with Jeffrey Mans, Esq., counsel for Plaintiff, who consents to this request.

            Thank you for your consideration in this matter.

                                                                   Respectfully,

                                                                   s/ Shannan C. Krasnokutski

                                                                   Shannan C. Krasnokutski
                                                                   Assistant Attorney General
                                                                   Bar Roll No. 512932
                                                                   Shannan.Krasnokutski@ag.ny.gov



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cc:   Jeffrey Mans, Esq. (via ECF)
      Attorney for Plaintiff
      P.O. Box 11-282
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